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                EXHIBIT 1
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                            UNITED STATES DISTRICT COURT
                                        for the
                                 District of Columbia

DISTRICT OF COLUMBIA
(Plaintiff)
            vs.                                                      1:21-cv-03267-APM
PROUD BOYS INTERNATIONAL, LLC, et al.
(Defendant)

   AFFIDAVIT OF DUE DILIGENCE IN ATTEMPTING TO SERVE JON RYAN SCHAFFER

The undersigned, Torri Schaffer, Custodian of Records for Torri's Legal Services, having been
duly authorized by Dechert LLP ("client") to make service of a Summons in a Civil Action,
Complaint, Civil Cover Sheet, Attachments A and B, and Notice of Right to Consent to Trial
Before a United States Magistrate Judge ("documents") for Jon Ryan Schaffer ("defendant")
in the above-captioned case, hereby depose and say: I am over the age of eighteen (18), not
a party to this lawsuit, and my business is 2021 L Street, N.W., Suite 101-252, Washington,
D.C. 20036. I received the documents on January 5, 2022.

According to the Summons, the defendant was to be served at 5162 Timber Ridge Dr.,
Columbus, IN 47201-8816 ("given address").

I sent the documents to my fellow process server in Indiana, Evolution Process Service, to
attempt at the given address.

   •   On January 6, 2022, at approximately 12:34 p.m., Evolution Process Service
       attempted to serve the defendant at the given address, a single-family home. A woman
       at the residence said that the defendant did not live there. She declined to provide her
       name.

I ran a skip trace to locate the defendant's current address. The skip trace was conducted in
a highly comprehensive, interactive database. This database is highly secure and available
only to pre-screened attorneys, investigators, process servers, and similar individuals. This
database is not available to the public, and the comprehensiveness and accuracy are high,
although care must be taken to evaluate the data for relevance and accuracy. (Exhibit A)

I reviewed the skip trace and instructed Evolution Process Service to attempt service at an
address listed on the skip trace: 1104 Charlotte Avenue, Fort Wayne, IN 46805 ("Fort
Wayne address").

   •   On January 11, 2022, at approximately 1:41 p.m., Evolution Process Service
       attempted to serve the defendant at the Fort Wayne address, a single-family
       residence. No one responded at the door.



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   •   On January 12, 2022, at approximately 9:34 a.m., Evolution Process Service attempted
       to serve the defendant at the Fort Wayne address. No one responded at the door. The
       server noticed a pickup truck driven by a man who resembled the defendant drive by
       slowly. However, the truck did not stop and kept on going.
   •   On January 12, 2022, at approximately 1:38 p.m., Evolution Process Service
       attempted to serve the defendant at the Fort Wayne address. No one responded at the
       door. The server left a post-It note on the door and then detected movement within
       the residence. The server knocked again but received no answer.
   •   On January 13, 2022, at approximately 5:12 p.m., Evolution Process Service
       attempted to serve the defendant at the Fort Wayne address. No one responded at the
       front door. After the server returned to her car, two women emerged from the house.
       One was walking to a car parked in the driveway. The server headed back to the house
       to speak with the woman standing in the door. The server had not even said a word
       when the woman stated that the defendant did not live there. She was terse and even
       rude. She said she knew the defendant but repeated that he did not reside there. She
       told the server to leave and not return. Note: This address belongs to Jonathan Haller,
       per Allen County IN property records.

I instructed Evolution Process Service to attempt service at another address listed on the
skip trace: 123 12/ E. Main Cross Street, Edinburgh, IN 46124-1414 ("Edinburgh address").

   • On January 20, 2022, at approximately 4:26 p.m., Evolution Process Service
     attempted to serve the defendant at the Edinburgh address, an old downtown
     building. The store space on the first floor appeared to be vacant. There might be
     someone living above the store space. The server left a call back card on the door.
   • On January 20, 2022, at approximately 7:42 a.m., Evolution Process Service attempted
     to serve the defendant at the Edinburgh address. No one responded at the main door.
     The server's card was still attached to the door.
   • On January 24, 2022, at approximately 10:22 a.m., Evolution Process Service
     attempted to serve the defendant at the Edinburgh address. The server tried the front
     door and back door to no avail. The server's card was still on the front door.
   • On January 26, 2022, at approximately 6:03 p.m., Evolution Protess Service
     attempted to serve the defendant at the Edinburgh address without success. The
     server's card was still attached to the door.
   • On January 27, 2022, at approximately 12:19 p.m., Evolution Process Service
     attempted to serve the defendant at the Edinburgh address. The situation there
     remained unchanged. The server's card was still attached to the door.

The client instructed me to attempt service at a fourth address: 3140 Diane South Drive,
Columbus, IN 47201 ("Columbus address"), a mobile home park.

   •   On February 8, 2022, at approximately 2:37 p.m., Evolution Process Service
       attempted to serve the defendant at the Columbus address. The trailer appeared to
       be vacant, but the server could not confirm with the neighbors or the office. There
       were no tracks in the snow leading to the home.

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    •   On February 9, 2022, at approximately 12:47 p.m., Evolution Process Service
        attempted to serve the defendant at the Columbus address. The mobile home is
        vacant, per the neighbors who stated that the resident moved out "last week." They
        advised that the person was not the defendant after being showed a photograph.

Due to the foregoing circumstances, I was unable to serve the documents to the defendant. I
was unable to determine the defendant's current whereabouts.

The undersigned declares and affirms that she has personal knowledge of the foregoing facts,
that the facts are true and correct, and that this affidavit was executed by Torri Schaffer,
Custodian of Records.


 Subscribed and sworn to before me on this 10th
 day of March 2022


 Rita Berzins, Notary Public - My Commission             Torri Schaffer, Custodian of   ds
 Expires 3/13/2025     - State of Maryland,
 County of Montgomery

            BER(>
                           RITA L. BERZINS
         NOTARY       Notary Public, State of Maryland
         PUBLIC           County of Montgomery
                     My Commission Expires 3/13/2025
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1/5122, 9:14 AM                                                              TLOxp - Advanced




 Your Current Reference ID: NONE
 1 Result Found for people named JON SCHAFFER located at 5162 TIMBER RIDGE DR,
 COLUMBUS, INDIANA,

 JON RYAN SCHAFFER , 53 Years Old (Indiana, Florida)         5162 TIMBER RIDGE DR, COLUMBUS, IN (09/1512008 to 08124/2020)
 JON RYAN SCHAFFER (08/24/1992 Pima(bit) Relatives                         Cities                                       Counties
 to 11/0312021)                                                            Crystal River, FL                            Citrus County, FL
                                                                            Ifietuni, rrr (i iii -uzviu to urivotzul r) rausoorougn county, FL (12/1987 to
 Other Observed Names                                                      Orlando, FL (08/24/1992 to                   01/23/2003)
 JOHN SCHEFFER (10/08/2007 to                                              05/21/2014)                                  Miami-Dade County, FL (11/01/2010 to
 01/31/2017)                                                               Plant City, FL (12/1987 to 01/23/2003) 01/05/2017)
 JOHN R SHAFFER (05/01/1993 to                                             Tampa, FL (06/26/1993 to 01/23/2003) Orange County, FL (08/24/1992 to
 01/3112017)                                                               Carmel, IN (10/08/2007)                      05/21/2014)
 JON SHAFFER (08124/1992 to                                                Columbus, IN (11/1897 to 08/2412020) Alien County, IN (07/10/2015 to
 09/01/2011)                                                               Edinburgh, IN (09/2015 to 01105/2022) 09/10/2021)
                                                                           Fort Wayne, IN (07/10/2015 to                Bartholomew County, IN (11/1997 to
 SSN:                                                                      09/10/2021)                                  08/24/2020)
 Issued: INDIANA 1977-1979                                                 Indianapolis, IN (04/30/2010 to              Brown   County, IN (09/28/2005 to
                                                                           12/18/2021)                                  10/02/2015)
 Dther People who have used this SSN                                       Nashville, IN (09/28/2005 to                 Hamilton County, IN (10/08/2007 to
 This doesnot usually indicate fraud.                                      10/02/2015)                                  10/08/2007)
                                                                           Winamac, IN (09/01/2007 to                   Johnson County, IN (09/2015 to
                                                                           10/08/2007)                                  01/05/2022)
                                        Indicators
                                                                                                                        Marion County, IN (04/30/2010 to
                                        Bankruptcies: None Found                                                        12/18/2021)
 Dates of Birth                         Liens: 2 Found, Latest In 2009
                                        Judgments: None Found              Possible Phones                              Pulaski County, IN (09/01/2007 to
 DOB: XX/XX/-                                                                                                           10/08/2007)
 Age:                                                                      (574) 946-3277 (ET) (A) (88%)
                                                                           (812) 988-4859 (ET) (L) (88%)
 Other DOB: XX/Xh.                                                         (407) 797.7054 (ET) (L) (86%)                possible Email Addresses
 Age:                                                                      (260) 888.4992 (ET) (M) (68%)                john.seheffertgoox.net (42%)
                                                                                                                        aschaffer@man.com (40%)
                                                                           (219) 946-3277 (CT) (L) (66%)                scheffercorblnargmaff.com (40%)
 Other DOB: VU'.                                                           (812) 579-5863 (ET) (L) (66%)
 Age:                                                                                                                   jicylehallen§gmall.com (40%)
                                                                           (812) 9884122 (El) (L) (66%)                 schef77(§pwrtc.com (40%)
                                                                           (260) 704-6270 (El) (M) (38%)                schef@pwrtc.com (40%)
 Gender. Male                                                              (812) 988.4021 (ET) (L) (3%)                 jtachefferr§hotmalLcom (40%)
                                                                           (812) 343-5071 (ET) (M) (3%)                 schef77@hotmail.com (40%)
 Dates at Searched Location:                                               (512) 988.6122 (CT) (M) (3%)
 09/15/2006 to 08/24/2020
                                                                           (813) 972-1450 (ET) (L) (3%)                 MaisliapAkeng         WHOPEDIA
                                                                           (812) 3504625 (ET) (M) (3%)                  http://enaviklpedia.orghvikIhIon_asha
 Driver's License Detafi:
 DL#: )000C400C-)0C-MX-X
 Issuing State: FL
  JON RYAN SCHAFFER
 1637 SE PARADISE CIR APT 308,
 CRYSTAL RIVER, FL 34429-4616
 (CITRUS COUNTY1
 DOB: XX/XX/11
 Issued: 02/22/1ova
 Race: White Gender. Male

 Adsirgaa±ilatery.
 123 1/2 E MAIN CROSS ST, EDINBURGH, IN 46124-1414 (JOHNSON COUNTY) (09/2015 to 01/05/2022)
 7960 ZIONSVILLE RD, INDIANAPOLIS, IN 48268-1649 (MARION COUNTY) (04/30/2010 to 12/18/2021)
  Current Commercial Phone at address
    (317) 337.2980 (ET) - HELMS AND ASSOCIATES PC JR
 1104 CHARLOTTE AVE, FORT WAYNE, IN 46805-2637 (ALLEN COUNTY) (07/10/2015 to 09/10/2021)
 Subdivision Name: FORTMEYERS OF
 PO BOX 251, EDINBURGH, IN 46124-0251 (JOHNSON COUNTY) (11/06/2017 to 06/17/2021)
 5162 TIMBER RIDGE DR, COLUMBUS, IN 47201-8816 (BARTHOLOMEW COUNTY) (09/15/2008 to 08/24/2020)
 123 E MAIN CROSS ST, EDINBURGH, IN 46124-1414 (JOHNSON COUNTY) (09/2015 to 05/31/2019)
 Subdivision Name: COLLIERS
 444 BRICKELL AVE STE P51, MIAMI, FL 33131.2468 (MIAMI-DADE COUNTY) (11/01/2010 to 01/05/2017)
 Subdivision Name: BRICKELL POINT
  Address contains: 1 floor, 88 suites
 5784 THREE NOTCH RD, NASHVILLE, IN 47448-8822 (BROWN COUNTY) (09/28/2005 to 10/02/2015)
 7826 RUM CAY AVE, ORLANDO, FL 32822-7148 (ORANGE COUNTY) (05/21/2014 to 05/21/2014)
 PO BOX 270, COLUMBUS, IN 47202-0270 (BARTHOLOMEW COUNTY) (09/14/2007 to 11/2013)
 5518 THREE NOTCH RD, NASHVILLE, IN 47448-8388 (BROWN COUNTY) (12105/2005 to 09/01/2011)
                                                                                                          EXHIBIT A
 5650 THREE NOTCH RD, NASHVILLE, IN 474484319 (BROWN COUNTY) (02/17/2010 to 02/17/2010)
 14606 BACH DR APT 426, CARMEL,IN 46032-7064 (HAMILTON COUNTY) (10108/2007 to 10108/2007)
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1/5/22. 9:14 AM                                                   TLOxp - Advanced
 Address contains: 22 apartments
445 E DECKER DR, WINAMAC, IN 46996-1113 (PULASKI COUNTY) (09/01/2007 to 10/08/2007)
Subdivision Name: FLOYD HALL
5001 OAKWOOD DR, COLUMBUS, IN 47203-9455 (BARTHOLOMEW COUNTY) (11/1997 to 07/10/2007)
Subdivision Name: OAKWOOD OF ESTATES
811 W 129TH AVE, TAMPA, FL 33612-4137 (HILLSBOROUGH COUNTY) (08/2611993 to 01/23/2003)
Subdivision Name: HIGH PINES
2610 SPRUCEWOOD LN, PLANT CITY, FL 335634882 (HILLSBOROUGH COUNTY) (12/1987 to 01/23/2003)
Subdivision Name: EASTGATE EXT
2564 WOODGATE BLVD, ORLANDO, FL 328224216 (ORANGE COUNTY) (0812411992 to 08/24/1992)
Subdivision Name: DOCKSIDE CONDO
 Address contains: 14 apartments
1637 SE PARADISE CIR APT 308, CRYSTAL RIVER, FL 34429.4616 (CITRUS COUNTY)
Subdivision Name• PLANT/MARI vu i_stac
 Address contains: 39 apartments
6912 CONCORD DR, TAMPA, FL 33614-4523 (HILLSBOROUGH COUNTY)
140 PINE VIEW DR APT 3, CARMEL, IN 46032-5346 (HAMILTON COUNTY)
 Address contains: 10 apartments
